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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                        CRIMINAL MINUTES

 Date: September 20, 2021            Time: 18 minutes             Judge: JAMES DONATO
                                     11:03 a.m. to 11:21 a.m.

 Case No.: 21-cr-00121-JD-4          Case Name: UNITED STATES v. Miksch

Attorney for Plaintiff:       Eric Cheng and Frank Riebli
Attorney for Defendant:       David Cohen and Alex Guilmartin
                              Defendant Kenny Matthew Miksch – present, on bond

  Deputy Clerk: Jean Davis                            Reported by: Ruth Levine Ekhaus
  Interpreter: n/a                                    Probation Officer: n/a


                                           PROCEEDINGS

Change of Plea hearing – held.

Defendant pleads GUILTY to Count One of the Indictment. The plea is accepted as knowing,
voluntary, and supported by an independent basis in fact. Defendant is adjudged guilty.

The matter is referred to the U.S. Probation Office for preparation of a Presentence Report.

Sentencing set for February 7, 2022 at 10:30 a.m.
